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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:10-cr-127

v.                                                          HON. ROBERT HOLMES BELL

LESLIE CLARK,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Leslie Clark has filed a motion for modification or reduction of sentence (ECF

No. 150) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The Court has reviewed

defendant’s motion, the Sentence Modification Report, submissions by counsel on behalf of the

defendant and the government, and the original criminal file. The Court has determined that the

motion should be denied.

       Defendant was sentenced on October 1, 2010, to a term of custody of 72 months following

the granting of a 3-level downward departure based on defendant’s substantial assistance, as well

as a variance to reflect defendant’s vulnerability. The 72-month sentence was well below the

original guideline range of 121 - 151 months.

       Pursuant to the Sentence Modification Report, the defendant’s amended guideline range is

97 - 121 months. Applying the 3-level substantial assistance departure given at the time of the

original sentencing, the range would then be 70 - 87 months. Although the Court originally granted
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a variance, Application Note 3 of USSG § 1B1.10 states that a Court may not reduce the defendant’s

sentence below the new amended sentencing guideline range based upon variances or departures,

unless the departure is based on a substantial assistance motion brought by the government.

       It appears from a review of defendant’s response to the sentence modification report that

defendant was recently transferred to KPEP for completion of this sentence. It further appears

defendant’s projected release date is January 2016.

       The Court in its discretion will DENY defendant’s motion (ECF No. 150). The Court finds

that the short amount of time left on defendant’s sentence is best spent at KPEP where he can be

provided the tools to begin to acclimate himself for release to supervised release.




Dated: October 1, 2015                           /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
